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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                         CASE NO. 12-21109-CIV-LENARD/O'SULLIVAN

  ENRIQUE PUYANA MANTILLA,

          Plaintiff,
  vs.

  UNITED STATES DEPARTMENT OF
  STATE, HILLARY RODHAM CLINTON,
  Secretary of State, ERIC H. HOLDER,
  JR., United States Attorney General,
  WIFREDO A. FERRER, United States
  Attorney, Southern District of Florida,

       Defendants.
  ________________________________/

                                JOINT CONSENT TO JURISDICTION BY A
                                 UNITED STATES M AGISTRATE JUDGE

           In accordance with the provisions of Title 28, United States Code, Section 636(c), the undersigned
  Parties to the above-captioned civil m atter, by and through their undersigned counsel, hereby voluntarily
  consent to have a United States Magistrate Judge decide the following m atters and issue a final order or
  judgm ent with respect thereto.

  1.      Motions concerning Discovery                             Yes _____        No   _____
  2.      Motions for Costs                                        Yes _____        No   _____
  3.      Motions for Attorney’s Fees                              Yes _____        No   _____
  4.      Motions for Sanctions or Contem pt                       Yes _____        No   _____
  5.      Motions to Dism iss or for Judgm ent on the Pleadings    Yes _____        No   _____
  6.      Motions to Certify or Decertify Class                    Yes _____        No   _____
  7.      Motions for Prelim inary Injunction                      Yes _____        No   _____
  8.      Motions for Sum m ary Judgm ent                          Yes _____        No   _____
  9.      Motions to Rem and (in rem oval cases)                   Yes______        No   _____
  10.     All other Pre-Trial Motions                              Yes _____        No   _____
  11.     Jury or Non-Jury Trial on Merits and Trial Motions,
                   including Motions in Lim ine                    Yes _____        No _____




  ____________________________                     _________________________________________
         (Date)                                    Signature of _______________________________
                                                   Counsel for _______________________________

  ____________________________                     _________________________________________
         (Date)                                    Signature of_______________________________
                                                   Counsel for _______________________________
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                                        Case No. 12-21109-CIV-LENARD/O'SULLIVAN




  ____________________________       _________________________________________
         (Date)                      Signature of _______________________________
                                     Counsel for _______________________________

  ____________________________       _________________________________________
         (Date)                      Signature of_______________________________
                                     Counsel for _______________________________




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